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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                         No. 1:21-cv-02900-CJN
                      Plaintiffs,
          v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                      Defendant.


         STATEMENT OF UNCONTESTED MATERIAL FACTS IN SUPPORT OF
      DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON ACTUAL
                                MALICE

          Herring Network, Inc. d/b/a One America News Network (“OAN” or “Defendant”)

presents the following Statement of Uncontested Material Facts (“Statement”) in support of its

Motion for Partial Summary Judgment on Actual Malice (“Motion”) as follows:

           1.     All of the facts recited herein are as of the date of the Broadcasts Complained of

    herein by Plaintiffs unless otherwise indicated.1

           2.     An Index of the attachments to the appendix is attached hereto in Exhibit 1.

           3.     An Index of the Complained of Publications is attached hereto as Exhibit 2 and lists

    the Publication   numbers, date of publication, title of publication, reference to Plaintiff’s

    complaint and reference in the Appendix.




1
      These facts are accepted as true only for the purposes of the Motion although some may be
      contested at trial. Citations supporting the facts are either to the Plaintiffs’ Complaint (“Dkt.1”)
      or to an Appendix (“App.”) with consecutively numbered pages containing Declarations
      (“Dec.”) and attached exhibits (“Ex.”) filed contemporaneously with the Motion.

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       A. Parties

          4.      OAN is a cable news channel, founded in 2013, which maintains a Washington,

D.C. news bureau and broadcasts out of its San Diego and Washington D.C. studios. (Plaintiffs’

Complaint (“Dkt. 1”) at ¶14, 77).

          5.      In addition to a cable news channel, OAN operates a website, OANN.com and

social media accounts including Facebook, Twitter and Instagram (Id. at ¶13).

          6.      Plaintiff Smartmatic USA Corp. (“Smartmatic”) is an electronic technology and

software company which provided election technology and software for Los Angeles County

during the November 2020 U.S. Presidential election (“2020 Election”). (Id. at ¶10).

          7.      Plaintiffs Smartmatic International Holding B.V. (“B.V.”) owns 100% of Corp. and

SGO Corporation Limited (“SGO”) owns 100% of B.V. Neither B.V. nor SGO played any role

in the 2020 Election. (Dkt.1 at ¶¶11 and 12). B.V. owns election technology and software

companies in the United States (“Smartmatic”), Barbados, and the Philippines. Id.

       B. Controversies Involving Smartmatic Leading up to the 2020 Election

     i.        The LA Rollout

          8.      On February 27, 2020, Smartmatic’s Washington DC-based public relations firm,

Scott Circle Communications (“SCC”), reached out to Alexa Corse of the Wall Street Journal

who was “                                        .” Ex. O-65, APP2576.

          9.      SCC asked Corse to “                             .” Id. Corse responded that she

wanted to talk about the “                                        ” and “

                     ” Id., APP2574.




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          10.   On February 4, 2020, CBS Channel 2 in Los Angeles (“CBSLA”) reported

“Officials Warn Of ‘Vulnerabilities’ With E-Voting Machines Ahead Of March 3 Primary.” Ex.

O-66; Ex. O-67.

          11.   Politico reported on March 3, 2020 that the decision by LA County to involve

Smartmatic in the 2020 Election was controversial because “millions of [LA] county voters on

Super Tuesday will cast ballots on a system in which numerous security flaws were found. This

has prompted some election integrity experts to call for barring the [Smartmatic] system until

they’re fully resolved.” Ex. O-68, APP2596.

          12.   A California Secretary of State Consultant’s Report on Security and

Telecommunications Testing in LA County VSAP 2.0 (December 24, 2019) outlined flaws in the

LA County System. Ex. O-69, APP2626-31.

    ii.     Controversial Connection to Venezuela and its Presidents Hugo Chavez and
            Alberto Maduro

          13.   Antonio Mugica (“Mugica”) and Roger Piñate (“Piñate”) founded Smartmatic in

2000 (Dkt. 1 at ¶22).

          14.   Mugica was



and is currently Smartmatic’s Chief Executive Officer. Ex. O-5 at 17: 21-18:7, 19:12-23; Ex. O-

70, APP2634.

          15.   Piñate is also Venezuelan and lived in Caracas, Venezuela in 2006. Ex. O-6 at 42:

7-12. He is a member of Smartmatic’s Board of Directors and is currently the President. Ex. O-6

at 43: 8-9; Ex. O-95, APP2840.

          16.

                                Ex. O-10 at 59: 2-4. At the same time,


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                                      and the two companies shared a common address. Ex. O-

71, APP2637; Exs. O-8, O-9.

       17.    According to Smartmatic,

                                         Ex. O-71, APP2637.

      Id.                                                            r. Ex. O-72, APP2640.

       18.    In 2004, Smartmatic’s technology was used in the first automated election in

Venezuela (Dkt 1. at ¶29). According to Smartmatic’s archived website, it won the Venezuela

contract “with the support of Bizta, a software consultant.” Ex. O-7, APP2136.

       19.    After the 2004 Venezuelan election, Smartmatic was publicly accused of rigging

the vote, in part because the Venezuelan government owned a share of Bizta. Ex. O-11 at 64: 8-

23; Exs. O-46, APP2368-2370 ; O-47, APP2405.

       20.    Later, in 2017, Smartmatic admitted that the 2017 Venezuelan national election

which it administered, was “manipulated” and blamed the Venezuelan government. Exs. O-19,

APP2197; O-20, APP2204-05; O-120, APP2995.

       21.    The Venezuelan government blamed Smartmatic,

        . Exs. O-73, APP2645; O-74, APP2652-53; O-120, APP2995-96.

       22.    In 2018, Smartmatic software, technology and/or machines were used in the

Presidential Election where Nicolas Maduro was “elected” President although the United States

and the organization of American States refused to recognize the results. Exs. 75-77.

       23.                                    was designated as Smartmatic International and

Smartmatic Corp.’s corporate representative under FED. R. CIV. P. 30(b)(6) during SVS Holdings,

Inc’s bankruptcy proceeding (In re: SVS Holdings, Inc. and Tom H. Connolly, Chapter 7 Trustee

v. Sequoia Voting Systems, Inc., Dominion Voting Systems, Corporation and Dominion Voting



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Systems, Inc.; Case No. 10-24238, in the United States Bankruptcy Court for the District of

Colorado (“Bankruptcy Proceedings”)).

          24.   In the Bankruptcy Proceedings,

                                                                                  Ex. O-10 at 56:

16-57: 3.

          25.   Jack Blaine (“Blaine”) joined Smartmatic just “before the infamous election of

(Hugo) Chavez in 2004.” Ex. O-11 at 30: 14-22.

   iii.     The Controversial Acquisition of Sequoia Voting Systems and the Committee on
            Foreign Investment in the United States (“CFIUS”) Investigation and
            Controversial “Divestiture of Sequoia”

          26.   Blaine assisted in Smartmatic’s acquisition of Sequoia in 2005. Ex. O-11 at 60: 8-

15; Ex. O-12, APP2168.

          27.   The main reason for Smartmatic’s purchase of Sequoia was to use it to have

Smartmatic enter the United States market. Ex. O-11 at 60: 8 – 61: 19.

          28.   Blaine became

                                  reporting to Mugica and he was, at the same time, the President

of Smartmatic Holding Corporation. Ex. O-11 at 73:23-74:2; Ex. O-12, APP2166.

          29.   From 2005 to 2007, Smartmatic’s election technology and software were used in

multiple U.S. states as well as Washington, D.C. (Dkt. 1 at ¶ 30).

          30.   In May 2006, Representative Carolyn Maloney (NY-14) requested that the United

States Treasury Secretary investigate Smartmatic’s purchase of Sequoia and initiate a CFIUS

Investigation. Ex. O-48, APP2409.

          31.

                                                 Ex. O-10 at 69: 5-16.



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       32.




                                                             Ex. O-15, APP2178.

       33.    In September 2007, Smartmatic divested itself of Sequoia by selling all of its shares

to SVS Holdings, Inc. (“SVS”). Ex. O-63, APP2511; Ex. O-15, APP2178. SVS was made up of

Sequoia’s senior management. Ex. O-63, APP2511.

       34.    In the 2007 Stock Purchase Agreement, Smartmatic retained certain Intellectual

Property Rights defined as “Proprietary Intellectual Property.” Ex. O-63, APP2514.

       35.    The 2007 Stock Purchase Agreement defined “Proprietary Intellectual Property” as

“all Intellectual Property owned or developed by the Selling Stockholder or any of its Affiliates

(other than the Company), including but not limited to all intellectual property arising from or in

respect of the Edge II Plus, Advantage Plus, Hybrid Activator, Accumulator & Transmitter

(HAAT) and HAAT Listener and all peripherals from time to time pertaining to the foregoing,”

Id.

       36.    Some of the intellectual property described in the Stock Purchase Agreement

                                                                              Ex. O-78, APP2669.

       37.    Section 8.14 of the 2007 Stock Purchase Agreement provides that “[t]he Parties

agree and acknowledge that [Sequoia] does not have any right, title or interest in or to the

Proprietary Intellectual Property, without limiting the terms of the Distribution Agreement.” Ex.

O-63, APP2515.

       38.    In the November 5, 2007 Transition Services Agreement between SVS Holdings,

Inc. and Smartmatic Services Corporation (Barbados) (“Smartmatic Services Barbados”), the



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parties agreed to a transition period of time where Smartmatic Services Barbados would provide

certain services to SVS Holdings, Inc. to support and maintain certain products (defined as

Advantage Plus, Edge Plus, and the HAAT). Ex. O-63, APP2521.

       39.    Smartmatic Services Barbados entered into this Transition Services Agreement

with SVS Holdings, Inc. because

                              Ex. O-10 at 159:5-13.

       40.    In the November 5, 2007 Distribution Agreement between Sequoia (defined as

Distributor) and Smartmatic (defined as Manufacturer), Smartmatic agreed to sell, and Sequoia

agreed to purchase, certain products (Edge II Plus, Advantage Plus, Edge2 Accessories, Hybrid

Activator Accumulator & Transmitter (HAAT), and HAAT Listener) to distribute within the

United States. Ex. O-63, APP2517.

       41.    After the 2007 sale, Sequoia licensed products from Smartmatic that were

developed by Smartmatic. Ex. O-11 at 88: 9-12.

       42.    Congresswoman Maloney issued a press statement on December 22, 2006

discussing the sale and stating that “there clearly remained doubts surrounding this company …

I first raised this case with Treasury … because the integrity of our voting machines is vital to

national security. At that time Smartmatic flatly refused to undergo CFIUS review. But now it

seems the company could not overcome the cloud of doubt surrounding this deal…” Ex. O-16,

APP2180.

       43.    On January 11, 2008, Chicago Alderman Ed Burke questioned the sale and

requested the Chicago Board of Election Commissioners confirm that “[t]he Sale of Sequoia by

Smartmatic is not a sham transaction designed to fool regulators and to further confirm that




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Smartmatic and the government of Venezuela have no ability to influence or control the new

owners of Sequoia.” Ex. O-113, APP2914.

          44.   Blaine responded to Burke on May 7, 2008. Ex. O-114, APP2919.

    iv.     The Controversial Chicago Elections

          45.   Through the purchase of Sequoia, Smartmatic’s technology and software were used

for a primary election in the City of Chicago and Cook County in March 2006. Ex. O-6 at 2: 6 –

3: 15; Ex. O-13, APP2170.

          46.   At a hearing before the Chicago City Council Joint Committee on Finance,

Committee on Budget and Government Operations and Committee on Committees, Rules and

Ethics one of the chairs, Alderman Burke, stated that the “history of the company that was hired

to run this election is no stranger to scandal, not the least of which involves its ties to Venezuela

and claims of its partnership with political corruption in that country.” Ex. O-6 at 2: 6 – 3: 15.

          47.   Another Chairman, Alderman Richard Mell reported that he agreed with Alderman

Burke’s statement “in all respects,” adding that “I think this is probably in 32 years the worst

election that we’ve ever had in regards to systems working and the ability to gather results at the

end of the day.” Ex. O-6 at 4: 13-17.

          48.   Blaine admitted that several Venezuelans assisted in the 2006 Chicago election. Ex.

O-6 at 19: 23 – 20: 20.

          49.   At the time, Smartmatic was “clearly” co-owned by Venezuelans and 100

employees were in Venezuela with 10-15 in the United States according to Blaine, who was

President of Smartmatic and its subsidiary, Sequoia. Ex. O-6 at 29: 21 – 30: 2, 117: 11-16.




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    v.     The Controversial Connections to Dominion

         50.   In July 2009, Dominion Voting Systems, Inc. (“Dominion”) acquired certain assets

from Sequoia, including Sequoia’s contract with New York state. Ex. O-63, APP2533.

         51.   In June 2010, Dominion acquired the remaining Sequoia assets out of bankruptcy,

including certain intellectual property and some software and hardware that were owned or

licensed at the time by Sequoia/SVS. Ex. O-63, APP2537-40; Ex. O-111.

         52.

                              Exs. O-79, APP2678-81; O-80, APP2683.

         53.

                         Ex. O-17, APP2186.

                                                                  Id. At one time, the companies

both had an address located on Pine Road in St. Michael. Ex. L, ¶ 8, APP1746.

         54.   In 2013 litigation against each other, both Smartmatic and Dominion’s Barbados

entities appeared. See Smartmatic International Corporation, et al., Plaintiffs v. Dominion Voting

Systems International Corporation, et al., 2013 Memorandum Opinion, C.A. No. 7844-VCP,

May 1, 2013.

         55.   In 2019, Smartmatic Barbados still operated in Barbados with a business address

of Pine Lodge #26 Pine Road, St. Michael, Barbados. Ex. O-18, APP2194.

         56.   On November 9, 2020, The Washington Examiner published an article that stated

“Dominion ‘got into trouble’ with several subsidiaries it used over alleged cases of fraud. One

subsidiary is Smartmatic, a company ‘that has played a significant role in the U.S. market over

the last decade,’ according to a report published by UK-based AccessWire.” Ex. O-21, APP2208.




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          57.   Technology and software that was previously designed and developed by

Smartmatic and its previously-owned hardware (including but not limited to AVC Edge, Edge II

Plus, AV Advantage, Hybrid Activator, Accumulator & Transmitter (HAAT), and Optech

Insight) were used in at least five states during the 2020 Election, in addition to LA County. Exs.

O-1-O-4; O-81.

    vi.     Smartmatic’s Controversial Role in the Philippines Leading to its 2023
            Disqualification

          58.   In 2008, Smartmatic won a bid to run the Philippines’ first fully automatic elections

(Dkt. 1 at ¶32).

          59.   In 2010, Smartmatic conducted the larger fully outsourced automated election in

the Philippines (Dkt. 1 at ¶34).

          60.   In 2013, Smartmatic processed ballots for elections in the Philippines (Dkt. 1 at

¶37).

          61.   In 2016, Smartmatic supplied technology and services for elections in the

Philippines (Id. at ¶40).

          62.   In 2018, the Philippines continued election operations with Smartmatic by

acquiring more than 97,000 vote-counting machines (Id. at ¶42).

          63.   In 2019, the Philippines used Smartmatic technology to conduct its fourth national

automated election (Id. at ¶43).

          64.   Former member of the Philippines House of Representatives, Glenn Chong, has

witnessed the conduct of Smartmatic affiliates in the Philippines, and the performance of its

electronic voting systems supplied to the Philippines Commission on Elections for national and

local elections beginning in 2008 through the present. Ex. D, ¶ 2.




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       65.    Through his inspections, Mr. Chong has gained personal knowledge regarding

numerous anomalies and fraud associated with Smartmatic’s participation in the national and

local elections in the Philippines since Smartmatic began providing electronic voting systems to

the Philippines. Ex. D, ¶ 3.

       66.    Mr. Chong considers the pattern of fraud exhibited by Smartmatic to represent a

“continuing serious threat to the national security of the Philippines, which has attracted

significant public attention through media reports in the Philippines and globally.” Id.

       67.    There were numerous anomalies and fraud associated with Smartmatic’s

participation in the national and local elections in the Philippines since Smartmatic began

providing electronic voting systems in 2008. Id.

       68.     The Smartmatic-Dominion voting machines used by Smartmatic in its first live

election test run in 2008 in the Philippines were not unidirectional but instead were bidirectional,

allowing remote access and, as a result, were prone to tampering or remote hacking. Ex. D, ¶¶ 4,

8.

       69.     In the 2010 national and local elections, there were multiple irregularities

discovered when auditing the audit logs of the Smartmatic’s Precinct Count Optical Scan (PCOS)

machines and the corresponding canvassing server. Ex. D, ¶ 11. The irregularities included PCOS

transmissions to servers when the PCOS was offline. Ex. D, ¶¶ 11-14.

       70.     In the 2010 national and local elections, there was alleged election tampering by

Smartmatic. There were discrepancies in PCOS audit logs that reflected transmission of results

from the machines to servers at times when the machines were shut down. There were also

examples of receipt of transmission vote results from machines before they were actually sent

according to the PCOS audit logs. And the canvassing servers reported a large discrepancy in the



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number of registered voters, which was also more than double the number of registered voters,

according to COMELEC. Id.

       71.     In the 2013 Philippines national and local elections, compact flash cards containing

configuration files on the PCOS machines generated a suspicious “digital line” traversing the

selection ovals corresponding to candidates, leading to erroneous vote results that differed from

an inspection of the decrypted ballot images and caused significant vote padding and vote

shaving—that is, the machines adding votes that were not made and subtracting votes that were

made. Ex. D, ¶¶ 17-21.

       72.     In the 2016 Philippines national and local elections, there were abnormalities

discovered by comparing decrypted ballot images with vote results from the Smartmatic

machines. These abnormalities included some candidates who actually received votes but whose

votes were not counted and tallied in the final election returns. Their valid votes were reflected

as under-votes, meaning it did not register a vote and it was not counted in the final election

result. Ex. D, ¶ 24.

       73.     Also in the 2016 Philippines national and local elections, Smartmatic made a script

change to the machine software, ostensibly to make a cosmetic change to account for a candidate’s

correct name, but the change was done remotely which made the system subject to tampering

and/or hacking. Smartmatic employee Marlon Garcia was criminally charged for the script

change but fled the Philippines before a warrant could be issued. Ex. D, ¶¶ 26-30.

       74.     Also in the 2016 Philippines national and local elections, 459 voting machines

were already attempting to transmit election results one day before election day based on the

secure logs of the DNS server. Ex. D, ¶ 31.




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       75.     On December 9, 2018, Richard Y Santillan - the personal security aide to Attorney

Glenn A. Chong, was tortured and brutally murdered by Philippine police officers. Mr. Chong

was the individual who investigated and reported systematic irregularities with Smartmatic

machines since 2010. The officers were criminally charged and are currently in detention while

trial proceeds. Ex. D, ¶ 32.

       76.     In the 2019 Philippines national and local elections, a protest of the election

resulted in the inspection and recount of physical ballots. When results of the manual recount

were compared to the machine vote totals, the physical ballots in almost all the ballot boxes did

not match with the results produced by the machines. Vote padding and vote shaving were

observed, where the machines counted votes that were not made, and ignored votes that were in

fact made for certain candidates. There were also 696 fake ballots discovered. These

discrepancies were sufficient to change the result of the election for the protestant candidate. Ex.

D, ¶¶ 35-42.

       77.     On November 29, 2023, COMELEC disqualified Smartmatic from participating in

any public bidding process for elections in the Philippines. The disqualification was based on a

criminal complaint filed in the United States District Court, Southern District of Florida, on

September 20, 2023, alleging that




                                    Ex. D, ¶44-46.




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                 78.



                                                Ex. O-22 at 451: 8 – 452: 7.2

                 79.   Among the allegations described in the criminal complaint,



                                                                 3
                                                                     Exs. O-64, 2553-54; O-24, APP2220-

    21.

                 80.



                                                       Exs. O-64, APP2564; O-23, APP2217.

                 81.   The COMELEC disqualification decision was the subject of a news report on CNN

    Ex. O-25.

          vii.     Smartmatic’s Proposed Communications Strategy and Tactics for 2020

                 82.   Smartmatic hired SCC                                                       . Ex.

    O-82, APP2691.

                 83.   SCC reported that



                               Id.




2
      Despite the marking on the deposition that it is “filed under seal,” it remains publicly available
      through the Lexis CourtLink database as of December 9, 2023. In an abundance of caution,
      Defendant is filing the Exhibit under seal in this proceeding.
3
      The criminal complaint was obtained through Lexis when it was originally filed and publicly
      available on PACER. It appears that since that time, the complaint has been sealed. Thus, this
      Exhibit has been filed under seal in this proceeding.

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          84.     Through

                                                                       Ex. O-82, APP2693.

          85.     SCC

                     Ex. O-82, APP2694.

     C.         2020 U.S. Presidential Election and the Controversy that Followed

     i.     Joe Biden is Elected in the 2020 U.S. Presidential Election

          86.     On November 3, 2020, the United States held an election for President resulting in

former Vice President Joe Biden prevailing over then-President Donald Trump.

          87.     Shortly after the election President Trump and his lawyers, principally Rudy

Giuliani (“Giuliani”) and Sydney Powell (“Powell”), alleged that the 2020 election had been

rigged in favor of Joe Biden and Kamala Harris and stolen from Donald Trump and Michael

Pence. They blamed Trump’s loss on the Democratic Party, a number of individuals and

companies including Smartmatic. Ex. O-83, APP2710, 2714, 2731-32. They also decided that the

story would involve manipulation of election technology in select States—ultimately, Nevada,

Arizona, Georgia, Pennsylvania, Michigan, and Wisconsin (Dkt. 1 at ¶80). On November 9, 2020,

the media reported about then Attorney General William Barr authorizing prosecutors with the

U.S. Department of Justice to investigate and “pursue substantial allegations of voting and vote

tabulation irregularities prior to the certification of the elections.” Ex. O-86, APP2799.

          88.     On November 12, 2020, then President Trump’s legal team—through Giuliani—

identified Smartmatic as one of the companies that participated in the Election Fraud. Ex. O-84.

          89.     On November 19, 2020, Giuliani and Powell held a Press Conference (“Press

Conference”) and repeated the allegations against Smartmatic. Ex. O-83, APP2731-38.




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       90.    Giuliani said at the Press Conference, “we use largely a Venezuela voting machine

in essence to count our vote. If we let this happen were going to become Venezuela.” Ex. O-83 at

23: 20-23.

       91.    Powell, speaking at the Press Conference, added that “the Smartmatic technology

software … [was] created in Venezuela at the direction of Hugo Chavez.” Ex. O-83 at 24: 22-23.

       92.    Fox 5 Television Station in D.C. and other media reported on the Press Conference.

Ex. O-85.

       93.    The news media, including OAN, followed the story as it was a matter of intense

public interest and concern. Exs. O-49-57.

       94.    In addition, various parties, including the Trump campaign represented by Giuliani

and Powell, among others, filed 26 lawsuits challenging the election results some of which

questions the election voting systems of Smartmatic and Dominion. A number of recounts and

audits were conducted none of which altered the electoral college result (or the popular vote which

Biden won by a wide margin). Ex. O-55.

       95.    On November 20, 2020, six members of congress wrote to the Attorney General,

Secretary of State, acting Secretary of Homeland Security, and the Director of National

Intelligence and cited “troubling reports involving election software… that can be traced back to

Smartmatic Corporation.” Ex. O-87, APP2802.

       96.    The certification of the vote and inauguration of President Biden did not end the

public debate and national controversy as former President Trump continued to insist that the

election had been stolen even in the face of two criminal indictments which alleged that he

knowingly lied about the accusations. Ex. O-59.




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          97.   In addition, other individuals, including MyPillow CEO Mike Lindell (“Lindell”),

publicly contended that there had been election fraud resulting in the disenfranchisement of the

voters who favored Trump and produced his own broadcasts which he used, in part, as

advertisements for his products that were published on various platforms, including OAN. (Dkt.1

at ¶¶156-157).

          98.   The news media continued to cover this public debate and national controversy,

which continues to this day as we approach the next Presidential election in less than a year. Exs.

O-60 - O-62.

          99.   In relation to the 2020 U.S. Presidential Election, Mugica has stated that



                                              Ex. O-37, APP2301.

          100. Smartmatic and Dominion filed a number of defamation lawsuits regarding this

election coverage focusing on Giuliani, Powell and Lindell as well as supposed conservative

leaning news cable channels, OAN, Newsmax and Fox. Ex. O-28, APP2248-57. The latter settled

its case with Dominion for the sum of $787,000,000, the other cases are pending. Ex. O-27.

    ii.     The Complained-of OAN Produced Broadcasts

          101. The First Broadcast complained of by Plaintiffs (Broadcast #1) was hosted by Alex

Salvi on the program After Hours With Alex Salvi and aired on November 12, 2020 (Dkt. 1 at

¶84), nine days after the election and after many news reports on President Trump’s allegations

of a stolen election including articles, in the New York Times and Washington Examiner which

Salvi quoted. Exs. O-21; O-49-O-57; O-86; Ex. H. This was also the day that Giuliani made

accusations against Smartmatic, although Salvi did not quote him. Ex. O-84.




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          102. Plaintiffs’ complained of 24 additional OAN broadcasts, four posts and three tweets

on Twitter. See Index of the Complained-of Publication.

          103. The last Complained-of Broadcast produced by OAN aired on May 3, 2021.

          104. On December 11, 2020, Smartmatic sent OAN a retraction demand letter which is

attached to the Complaint as Exhibit 46 (Dkt. 1 at ¶285, Ex. 46). Ex. O-26.

          105. On December 18, 2020, Dominion sent OAN a retraction demand letter that

referenced Smartmatic (Dkt. 1 at ¶276).

          106. Three broadcasts produced by OAN and complained of by Plaintiffs aired after the

retraction demands. The first on December 21, 2020, the second on February 8, 2021, and the

final on May 3, 2021. (Dkt.1 at ¶¶171(gg), (ii), (mm)).

          107. OAN did not publish defamatory statements about Smartmatic with actual malice.

Exs. B, C, E-M.

   iii.     The Lindell Broadcasts

          108. Plaintiffs also complain about certain broadcasts independently produced by Mike

Lindell and aired on OAN. Ex. I, ¶ 7, APP1157.

          109. OAN did not produce, write, edit, source, or film any portion of the Lindell

Broadcasts. Ex. I, ¶ 8, APP1157.

    iv.      OAN Sources

                a. Rudy Giuliani

          110. Rudy Giuliani is an American lawyer and politician. He earned his Bachelor’s

degree in political science from Manhattan College and a Juris Doctor from New York University.

Mr. Giuliani’s extensive legal career has included private practice as well as prominent positions

in the U.S. government, including as associate attorney general at the Justice Department U.S.



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attorney for the Southern District of New York. Mr. Giuliani later served as the mayor of New

York City and was named Time magazine’s Person of the Year for his mayoral leadership after

the September 11th attacks. He has since authored and co-authored several books including

Leadership (2002), a recounting of his time as mayor. In April 2018, Mr. Giuliani joined the legal

team for then President Donald Trump during the investigation into the 2016 presidential election.

In March 2019, Mr. Giuliani transitioned to then President Trump’s personal attorney and served

in that role until 2021. Ex. O-121.

       111. Based on his reputation and prominence, in 2018, Smartmatic



                       Ex. O-88, APP2806.

       112. In June 2021, the Supreme Court of the State of New York Appellate Division, First

Judicial Department suspended Mr. Giuliani from the practice of law, explaining that “[a]s

officers of the court, attorneys are "an intimate and trusted and essential part of the machinery of

justice". Ex. O-29, APP2266. In other words, they are perceived by the public to be in a position

of knowledge, and are therefore, "a crucial source of information and opinion.” (citations

omitted). Id.

       113. In July 2023, the Ad Hoc Hearing Committee recommended that Mr. Giuliani be

disbarred in the District of Columbia, similarly addressing that attorneys are a “crucial source of

reliable information.” Ex. O-96, APP2843.

                b. Sidney Powell

       114. Sidney Powell is an American attorney, former federal prosecutor, and author. She

earned a Bachelor’s degree in political science and a Juris Doctor from the University of North

Carolina. Ms. Powell served as an assistant United States attorney and later became chief of the



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Appellate Section for the Western and Northern Districts of Texas. During her career in

government and private practice, Ms. Powell has served as lead counsel in more than 500 appeals.

She is also the author of the book Licensed to Lie: Exposing Corruption in the Department of

Justice (2014). After the 2020 election, Ms. Powell joined then President Trump’s legal team and

filed several lawsuits in swing states challenging the election results. Ms. Powell has been

featured on numerous radio and television shows for Dick Morris, Jim Bohannon, Alan Nathan,

NewsMax, FoxNews, C-SPAN, BOOK TV, Neil Cavuto, and others. Ex. O-122, O-123.

              c. Matthew DePerno

       115. Matthew DePerno is a Michigan-based tax and business litigation attorney. He

received a Bachelor’s degree from University of Michigan, a Juris Doctorate from University of

Detroit Mercy School of Law, and a Master’s in Taxation Law (L.L.M.) from New York

University School of Law. After practicing law as a partner at a large law firm for 10 years, Mr.

DePerno opened his own law practice in 2005, DePerno Law, PLLC. Mr. DePerno was the 2022

Republican nominee for Michigan attorney general and later that year ran for chair of the

Michigan Republican Party. Exs. O-124, O-125.

              d. Patrick Colbeck

       116. Patrick Colbeck is a politician, engineer, two-term Michigan Senator, and author.

He holds a Bachelor’s and Master’s Degree of Science in Aerospace Engineering from Michigan

in Ann Arbor. Furthermore, Mr. Colbeck has authored numerous political pieces over the last

seven years, including a book describing his independent investigation into the 2020 election

titled The 2020 Coup: What happened? What we can do? (May 21, 2022). Colbeck is also the

author of Information Technology Roadmap for Professional Service Firms (2006), and Wrestling

Gators: An Outsider's Guide to Draining the Swamp (May 9, 2018). Ex. O-126.



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              e. Dr. Shiva Ayyadurai

       117. Dr. Shiva Ayyadurai is an Indian-American scientist, inventor, entrepreneur, and

politician. He was a Fulbright Scholar and holds four degrees from the Massachusetts Institute of

Technology, including a Bachelor’s degree in electrical engineering and computer science, a

master’s degree in visual studies, a master’s degree in mechanical engineering, and a Ph.D. in

Biological Engineering. Dr. Ayyadurai has started seven successful high-tech companies and

authored ten books including The Boy Who Invented Email & His 7 Secrets of Innovation (2015),

Your System Your Life: MIT Engineer’s Guide to the Ultimate System for Achieving Any Goal

You Choose (2016), and The System and Revolution (2016). In 2018, and again in 2020, Dr.

Ayyadurai ran for U.S. Senate in Massachusetts. Dr. Ayyadurai is currently the Founder and CEO

of CytoSolve, Inc., which is discovering cures for major diseases from pancreatic cancer to

Alzheimer’s, and is running as an independent candidate in the 2024 U.S. presidential election.

Ex. O-127.

              f. Mary Fanning

       118. Mary Fanning is an investigative journalist, author, and producer, focusing on

election fraud and cyber security. She is a contributor to Breitbart News, LifeZette, Big League

Politics, 1776 Channel, and Communities Digital News. Ex. O-128.

              g. Terry Turchie

       119. Terry Turchie is the Former FBI Assistant Deputy Director of the Counterterrorism

Division and recipient of numerous awards, such as the FBI’s Director’s Award and the Attorney

General’s Award for Distinguished Service. Mr. Turchie has a Bachelor of Science, Criminal

Justice, and Law Enforcement Administration from California State University Sacramento, and

a Master’s degree in Political Science and Government from Southern Illinois University,



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Carbondale. Following his career with the FBI, Mr. Turchie became the Director of

Counterintelligence at Lawrence Livermore National Laboratory. In 2007, Mr. Turchie became

the President and Co-Founder of TK Associates, a firm that provides expertise in risk assessment

and investigative issues based on 38 years of protecting employees and the public. Mr. Turchie is

also the co-author of Hunting the American Terrorist – the FBI’s War on Homegrown Terror

(2007) and Homeland Insecurity, How Washington Politicians Have Made America Less Safe

(2008). Exs. O-129, O-130.

              h. Steve Bannon

       120. Steve Bannon is an American political strategist, media executive, and filmmaker

who served as senior counselor and chief White House strategist for then President Donald

Trump. Mr. Bannon earned a Bachelor’s degree in urban affairs from Virginia Tech and a

master’s degree in national security studies from Georgetown University. Then, after serving

eight years as an officer in the U.S. Navy, Mr. Bannon attended Harvard Business School and

graduated with a Master’s in Business Administration in 1985. Mr. Bannon began his career in

the financial industry and co-founded a financial firm, Bannon & Co., focusing on entertainment

finance. As an executive producer in Hollywood Mr. Bannon produced 18 films and, in 2007, co-

founded Breitbart News, a conservative news website. In August 2016, Mr. Bannon became the

executive director of Donald Trump’s presidential campaign and after a successful election, he

was appointed senior counselor and chief White House strategist. The following year, Mr. Bannon

stepped down from his White House position and returned to Breitbart News for a brief time

before starting his own radio show and podcast. Ex. O-131.




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              i. Joseph DiGenova

       121. Joseph DiGenova is an American lawyer and political analyst who served as a

member of Donald Trump’s legal team in the effort to challenge the 2020 presidential election

results. Mr. DiGenova is a founding partner of DiGenova and Toensing, a DC law firm

specializing in legal, governmental, and legislative issues. Mr. DiGenova is a former U.S.

Attorney for the District of Columbia, former Chief Counsel and Staff Director of the U.S. Senate

Rules Committee, former Independent Counsel, and former Special Counsel to the U.S. House of

Representatives. Mr. DiGenova received his undergraduate degree from the University of

Cincinnati and his law degree from Georgetown University. His advocacy and experience has led

to multiple appearances on national television programs, including Good Morning America, The

Today Show, 60 Minutes, Crossfire, Court TV, Lehrer News Hour, Meet the Press, Face the

Nation, Nightline, This Week With David Brinkley, John McLaughlin’s One On One, and others.

Ex. O-132.

              j. Tom Fitton

       122. Tom Fitton has 20 years of experience in public policy, and is a nationally

recognized expert on government corruption, immigration enforcement, congressional and

judicial ethics, and open government. Mr. Fitton is the president and board member of Judicial

Watch, a public interest group that investigates and prosecutes government corruption, named by

The Hill newspaper as one of Washington’s top ten most effective government watchdog

organizations. Mr. Fitton is a national spokesperson for conservative causes and has been quoted

in TIME, Vanity Fair, the Washington Post, The New York Times, The Associated Press, The

Los Angeles Times, and The New York Post. Similarly, Mr. Fitton has appeared on Fox News

Channel, ABC, CBS, NBC, CNN, C-Span, and MSNBC. Mr. Fitton holds a Bachelor’s degree in



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English from George Washington University. Mr. Fitton was previously employed by the

International Policy Forum, the Leadership Institute, and Accuracy in Media. Ex. O-133.

              k. Col. Phil Waldron

       123. Retired Army Col. Phil Waldron is an American veteran and small-business owner.

He graduated from Texas A&M University with a Bachelor’s in biomedical science and later

received his Master of Business Administration from Jack Welch Management Institute. Col.

Waldron served in the U.S. Army as a pilot for over thirty years. After he retired from his second

career in the pharmaceutical industry, Col. Waldron started a distillery and brewery in Dripping

Springs, Texas dedicated to supporting veteran and first responder organizations. In summer

2020, Col. Waldron began investigating international connections to the American voting system

and testified before Congress on the matter in January 2021. Exs. O-134, O-135, O-136.

              l. Russell Ramsland

       124. Russell Ramsland is an international business entrepreneur, cybersecurity activist,

and former United States congressional candidate. He earned a Bachelor’s in political science and

government from Duke University and an M.B.A. from Harvard School of Business. Mr.

Ramsland has served in several facets of government including serving on Capitol Hill for

Chairman George Mahon, to working with the Reagan White House, NASA and MIT to develop

new semi-conductor materials on the U.S. Space Shuttle for the Strategic Defense Initiative. He

was a candidate in the 2015 Republican Party Primary for the 32nd U.S. Congressional District

for Texas and now does a series of educational lectures at various schools as well as religious,

civic and political organizations. Exs. O-137, O-138.




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              m. General Tom McInerney

       125. General Tom McInerney was the Chief Executive Officer and President of Business

Executive for National Security (BENS), a national, nonpartisan organization of business and

professional leaders. McInerney retired from military service as Assistance Vice Chief of Staff of

the Air Force and as Director of Defense Performance Review, reporting to the Secretary of

Defense. McInerney holds a Bachelor of Science degree from the US Military Academy and a

Master’s degree in International Relations from George Washington University. Following his

retirement from the military, General McInerney helped form YottaStor, a Cloud Computing

LLC, designed specifically for storage of intelligence, surveillance, and reconnaissance platforms

as well as space imagery, cyber warfare, medical imaging, and disaster recovery and continuity

of operations planning. Additionally, General McInerney is currently a senior military analyst for

Fox News and authors articles for the Washington Times, Washington Post, International Herald

Tribune, and Human Events. Ex. O-139.

              n. Clay Clark

       126. Clay Clark is a business entrepreneur, author, award-winning speaker, and political

activist. Mr. Clark is the recipient of numerous awards: U.S. Small Business Administration

Entrepreneur of the Year for the state of Oklahoma; Tulsa Metro Chamber of Commerce

Entrepreneur of the Year; Oklahoma’s “Men of Distinction”; and U.S. Chamber’s National Blue

Ribbon Quality award winner. Ex. O-140.

              o. Michael Johns

       127. Michael Johns is an American healthcare executive, policy analyst, and

speechwriter. He holds a Bachelor’s in economics from the University of Miami and studied

internationally at Cambridge University. Mr. Johns has two decades of executive and senior



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management experience in the global health care industry. He also has served previously as a

White House speechwriter to then President George H.W. Bush and as a foreign policy analyst at

the Heritage Foundation. In 2009, he was one of several founders of the grassroots U.S. Tea Party

movement. Mr. Johns has written for The Wall Street Journal, The Christian Science Monitor,

National Review, Human Events, and other publications, and appeared as a commentator on CBS

News, C-SPAN, and other media outlets. Ex. O-141.

              p. Keith Trippie

       128. Keith Trippie is a retired U.S. Government Senior Executive, cyber security leader

and entrepreneur. Mr. Trippie currently serves as the Senior Cyber Advisor for the Association

of Southeast Asian Nations (ASEAN) and the CEO of The Trippie Group LLC, a company

specializing in cyber security and risk management. Mr. Trippie formerly served as the Senior

Executive Director at the U.S. Department of Homeland Security within the office of the Chief

Information Officer. Further, Mr. Trippie authored a book, The Forgetten American (2020). Mr.

Trippie is the founder and host of GotUrSix TV, a network curated for the military community.

Mr. Trippie attended Harvard business school and obtained a Bachelor’s in Broadcast Journalism

from the University of Arkansas. He has received numerous awards, including the Fed 100

Award, Fierce Government 15, and FedScoop 50, and is actively sought out on the Federal IT

Executive speaking circuit. Ex. O-142.

              q. Allan Santos

       129. Allan Santos is a Brazilian journalist and political activist. Santos holds a seminary

degree from Maria Mater Ecclesiae and served as a journalist for the Catholic news portal, dubbed

Church Militant. Ex. O-143.




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              r. Kyle Becker

       130. Kyle Becker is the founder, CEO, and Chief Editor of Becker News; former writer

& associate producer at Fox News for the Sean Hannity Show; former Director of Viral Media;

and Senior Managing Editor for an award-winning startup, the Independent Journal Review.

Becker holds a Masters of Arts in International Studies from the University of Iowa and has

authored thousands of digital articles. Ex. O-144.

              s. Evi Kokalari-Angelakis

       131. Evi Kokalari-Angelakis is a political activist and founder of Golden Key Real

Estate. She authored numerous op-eds regarding election integrity and is the founder of

Immigrants for Donald Trump. Ms. Kokalari-Angelakis also was a member of the Trump Victory

Finance Committee and hosted several political events for GOP members. Ex. O-145.

              t. Dr. J. Michael Waller

       132. Dr. J. Michael Waller is a scholar-practitioner with 25 years of experience in

international security, public diplomacy, political warfare, psychological operations, and

information operations in support of U.S. foreign and military policy. Dr. Waller is the President

of Georgetown research, and a founding editorial board member for two peer-reviewed scholarly

journals: Demokratizatsiya: The Journal of Post-Soviet Democratization, and NATO Defence

Strategic Communications Journal. Dr. Waller was a member of the staff for the US House of

Representatives and the U.S. Senate, served on the White House Task Force on Central America,

was an operator for members of the White House Active Measures Working Group, and has been

a consultant to the Senate Foreign Relations Committee, the U.S. Information Agency, the U.S.

Agency for International Development, the Office of the Secretary of Defense, and the U.S.

Army. Dr. Waller holds a Bachelor’s degree in International Affairs from George Washington



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University, as well as a Master’s in International Relations and Communication and a PhD in

International Security Affairs from Boston University. Dr. Waller has written for numerous major

news platforms, including the Wall Street Journal, the Los Angeles Times, Reader’s Digest, USA

Today, and the Washington Times. Similarly, Dr. Waller has been a commentator for BBC, CNN,

Fox News, and MSNBC. Since 2018, Dr. Waller has served as the Senior Strategy Analyst for

the Center for Security Policy, a non-profit defense and national security think tank. Exs. O-146,

O-147.

               u. Michael Lindell

         133. Michael Lindell, founder and CEO of MyPillow, is an American businessman,

political activist, author, and non-profit founder. Since 2016, Mr. Lindell has served as both an

advisor and counselor to then President Trump on various matters, including the national opioid

crisis, American manufacturing, as well as general election matters. In May of 2020, Mr. Lindell

was named as campaign chair for Donald Trump’s 2020 reelection campaign in Minnesota.

Further, Mr. Lindell has been a coveted speaker at numerous political engagements, such as the

annual Conservative Political Action Conference, Trump rallies, and the 2020 Iowa Caucus, and

has been interviewed by dozens of various news networks and print journalism platforms, such

as Fox News, the Washington Post, Yahoo Finance, People Magazine, the Washington Examiner,

MPR, Newsmax, and others. Exs. O-149, O-148.

               v. Cory Mills

         134. Cory Mills is a U.S. Representative, combat veteran, and foreign policy expert. Mr.

Mills served in the U.S. Army in several conflicts and received a Bronze Star his heroic actions

during the Iraq War. In the private sector, Mr. Mills co-founded Pacem Solution International

LLC and Pacem Defense LLC which support risk management assessments, intelligence



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collection, and security for media such as NPR news. Mr. Mills has been featured on CNN, Fox

News, ABC, C-SPAN, Newsmax, and other media outlets. Ex. O-150.

                w. Chris Farrell

         135. Chris Farrell is the Director of Investigations and Research at Judicial Watch, a

non-partisan educational foundation, which promotes accountability and integrity in government,

politics, and the law. A distinguished military graduate from Fordham University, with a

Bachelor’s in History, Mr. Farrell served as a military intelligence officer specializing in

counterintelligence and human intelligence. Farrell has appeared on numerous national TV and

radio shows. Mr. Farrell is a senior fellow at Gateston Institute, and a member of: the Association

of Former Intelligence Officers; the Society of Professional Journalists; Investigative Reporters

and Editors; the National Military Intelligence Association; and the State Department’s Overseas

Security Advisory Council. Ex. O-151.

    v.     The Controversy Surrounding Smartmatic Board Member Peter Neffenger on the
           Biden Transition Team

         136. On November 10, 2020, President-Elect Biden announced his transition team,

which included Peter J. Neffenger as one of the members for the Department of Homeland

Security                                                                               . Ex. O-30,

APP2271; Ex. O-58, APP2477.

         137. There was no mention of Neffenger’s position on Smartmatic’s Board in the

announcement. Rather, Neffenger was listed as “self-employed,” as well as “a former

Transportation Security Administration leader and vice commandant for the Coast Guard.” Exs.

O-30, APP2271; O-31, APP2275.

         138.   Neffenger did not resign from his position as Chairman of the Board for

Smartmatic at the time he was appointed to the Biden transition team,


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                                        Ex. O-33, APP2279. Neffenger remains on Smartmatic’s

Board today. Ex. O-32, APP2277.

          139. As of November 15, 2023, Neffenger continues to serve both on the Smartmatic

Board of Directors and as a Member of the Board of Visitors to the United States Coast Guard

Academy, a “key role” to which he was appointed by President Biden. Ex. O-89, APP2808.

    vi.     Controversy Related to Internet Policy Changes Spurred by Neffenger

          140. On December 9, 2020, Google/Youtube changed its policies on election

information and posting content. Ex. O-34.

          141. Also on December 9, 2020, Neffenger




                                 Ex. O-35, APP2292-93.

          142. On June 2, 2023, Google/Youtube reversed its policies on election information and

posting content changed in December 2020. The policy change explained that “the ability to

openly debate political ideas, even those that are controversial or based on disproven assumptions,

is core to a functioning democratic society – especially in the midst of election season.” Ex. O-

36, APP2296.

   vii.     Controversy Related to Smartmatic Connection to the Soros Family

          143. From 2014 through and including 2020, Smartmatic employees and board members

had an ongoing and close relationship with George Soros (“Mr. Soros”), his son Alex Soros, and

several members of Soros-owned or affiliated entities (e.g., Open Society Foundation, Soros Fund

Management, VGS Associates, LLC). Exs. O-38 - O-43; O-90.

          144. During these years, Mr. Soros was kept up to date on various election projects that

Smartmatic was working on in several foreign countries, and behind the scenes he advanced and

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affirmatively supported Smartmatic’s business opportunities in foreign countries. Exs. O-44; O-

45.

          145. In addition, Smartmatic has internally described Smartmatic’s UK Chairman (Lord

Mark Malloch-Brown) as having                                                        . Ex. O-91,

APP2824.

  viii.     Controversy Regarding Electronic Voting Systems Generally

          146. On April 5, 2018, Smartmatic’s Chairman, Lord Mark Malloch-Brown wrote

Mugica and Piñate as follows:




      Ex. O-92, APP2828.

          147. The voting and elections technology industry has a limited number of companies,

and the cloudy nature of their ownership has long frustrated government officials from both sides

of the aisle. Exs. O-93; O-111; O-117.

          148. The move toward electronic voting systems, including the use of paper ballots, has

been the subject of discussions in which government officials have participated in and which

Mugica has separately and publicly participated in as well, citing former President Jimmy Carter

in his calls to “bring voting processes into the modern age.” Ex. O-112, APP2910; Ex. O-94.




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                                     By: /s/ Charles L Babcock
Dated: December 9, 2023.
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                                     (admitted pro hac vice)
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                                 CERTIFICATE OF SERVICE

                 I hereby certify that on this 9th day of December 2023, the foregoing was filed with
the Clerk of the Court using the CM/ECF system, which will electronically mail notification of the
filing to all counsel of record who are registered ECF users.

                                                  /s/ R. Trent McCotter
                                                    Trent McCotter




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